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                           UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA

MAGGIE SMITH

On behalf of herself and all others similarly
situated,

Plaintiff,
                                                      Civil Action No.: 15-737 (RCL)
    v.


GOVERNMENT OF THE DISTRICT OF
COLUMBIA

Defendant.


                                                ORDER

              Plaintiffs’ unopposed motion for leave to amend their motion for class action

treatment [26] to add statement on notice issues motion is GRANTED.



                                                ______________________________
                                                Judge Royce C. Lamberth
                                                United States District Court Judge




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